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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 21-CR-21-GKF

TRE ROBERT ALLEN ACKERSON,

Defendant.

Plea Agreement Pursuant to
Federal Rule of Criminal Procedure 11(c)(1)(C)

The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and Justin G. Bish, Assistant
United States Attorney, and the defendant, TRE ROBERT ALLEN ACKERSON,
in person and through counsels, James J. McHugh and Hunter S. Labovitz,
respectfully inform the Court that they have reached the following plea agreement,
pursuant to Fed. R. Crim. P. 11(c)(1)(C).

1. Plea

The defendant agrees to enter a voluntary plea of guilty to the following:

18 U.S.C. §§ 1151, 1152, and 1111 — Murder in the Second Degree
as set forth in the Information in the instant case, Northern District of Oklahoma,
and admits to being in fact guilty as charged in the count to which the defendant is
pleading guilty.

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2. Waiver of Constitutional Rights

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been
committed during trial that would require either a new trial or a dismissal of the
charges;

k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

l. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

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By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual
basis for the defendant’s plea.

3. Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of
any post-conviction motion to reduce the term of imprisonment, supervised
release, or probation, under 18 U.S.C. §§ 3582(c), 3583(e)(1), or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and

sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

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The defendant expressly acknowledges that counsel has explained his appellate

and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives those a set forth above.

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TRE ROBERT ALLEN ACKERSON

4. Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking any sentence below that agreed upon by the parties pursuant to Rule
11(c)(1\(C).

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule

11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent

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proceeding, including a criminal trial, the following shall be admissible against the
defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

a. A guilty plea that is later withdrawn or that the defendant seeks to
withdraw, unless done pursuant to Fed. R. Crim. P. 11(c)(1)(C);

b. The facts that the defendant has admitted under this plea agreement, as
well as any facts to which the defendant admits in open court at the plea hearing, and
any statement made in any proceeding under Rule 11 regarding this plea agreement;
and

c. Any statement made during plea discussions with an attorney or agent for
the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn, unless done pursuant to Fed. R.
Crim. P. 11(c)(1)(C).

7. Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of

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returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the Court
accepts this plea agreement. The defendant agrees to update any material
changes in circumstances, as described in 18 U.S.C. § 3664(k), within seven
days of the event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect

and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

8) The defendant agrees to pay the special assessment in full before
sentencing and to provide proof of that payment.

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c. Mandatory Restitution
Pursuant to the Mandatory Victim Restitution Act, 18 U.S.C. § 3663A, the Court
must order that the defendant pay restitution to the following victim of the offense of
conviction as set forth in paragraph 1 of this Plea Agreement:

Jolene Walker Campbell $TBD
Joplin, MO

The defendant agrees to pay restitution for the full amount of the victim’s loss.
The defendant further agrees to pay restitution in the following amounts to the
following victims, regardless of whether the losses suffered by these victim’s resulted

from the offense of conviction, and consents to the Court entering a corresponding

restitution order pursuant to 18 U.S.C. § 3663A(a)(3) or 18 U.S.C. § 3663A(c)(2):

M.M. $TBD
Joplin, MO

K.L. $TBD
Joplin, MO

CJ. $TBD
Carthage, MO

A.T. $TBD
Carthage, MO

The defendant further agrees that any amount ordered by the Court to be paid as

restitution may not be discharged, in whole or in part, in any bankruptcy proceeding.

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8. Special Assessment

The defendant hereby agrees to pay the total Special Monetary Assessment ($100
per felony count) to the United States District Court Clerk before the sentencing
hearing or as otherwise directed by the District Court.

9. Factual Basis and Elements

To convict the defendant under 18 U.S.C. §§ 1151, 1152, and 1111, the
government must prove the following elements beyond a reasonable doubt:
a. The defendant unlawfully killed a person;
b. The defendant killed with malice aforethought;
c. The defendant is a non-Indian;
d. The victim is an Indian; and

e. The killing took place within Indian Country in the Northern District of
Oklahoma

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, TRE ROBERT ALLEN ACKERSON, admits to knowingly,

willfully and intentionally committing or causing to be committed the acts

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constituting the crime alleged in Count One in the instant Information, and confesses
to the Court that the defendant is, in fact, guilty of such crime.

I, TRE ROBERT ALLEN ACKERSON, admit that on or about
July 5, 2020, within Indian Country in the Northern District of
Oklahoma, I unlawfully killed a human being, Jolene Walker
Campbell. Specifically, I intentionally shot Jolene Walker Campbell
twice with a firearm, cut her throat with a knife, and hit her head
several times with a tire jack until she died from the injuries. Although I
did not act with premeditation, I acted with malice aforethought, which
is to say I killed Jolene Walker Campbell deliberately and intentionally.

I committed the killing at 5884 W. 620 Road, Chouteau, Oklahoma
74337, and more specifically, at GPS coordinates 36.126622,
-95.368597 just north of that physical address. I acknowledge that this
location is in the Northern District of Oklahoma. I further acknowledge
that this location lies within the boundaries of the Muskogee (Creek)
Nation and therefore is in Indian Country as defined by federal law. I
also acknowledge that I am a non-Indian and Jolene Walker Campbell
is an enrolled member of the Osage Nation and therefore an Indian, as
that term is defined by federal law.

Following the killing, I admit that I participated in multiple attempts
from July 5, 2020 to on or about the date of the Fourth Superseding
Indictment filed in this case, to obstruct, threaten, and tamper with
witnesses that had information relating to the kidnapping and murder of

Jolene Walker Campbell to avoid prosecution.
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TRE a fe ALLEN ACKERSON Date
Defendant

10. Further Prosecution

The United States shall not initiate additional criminal charges against the

defendant in the Northern District of Oklahoma that, as of the date of the

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defendant’s acceptance of this agreement, arise from its investigation of the

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defendant’s actions and conduct giving rise to the instant Information, save and
except crimes of violence and criminal acts involving violations investigated by the
United States Internal Revenue Service. The defendant understands, however, that
this obligation is subject to all “Limitations” set forth below, and that the United
States Attorney’s Office for the Northern District of Oklahoma is free to prosecute
the defendant for any illegal conduct (i.e., violation of federal criminal laws) not
discovered by or revealed to the government during its investigation or occurring
after the date of this agreement.

11. Dismissal of Remaining Counts

If the Court finds the defendant’s plea of guilty to be freely and voluntarily made
and accepts the plea, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty plea is rejected, withdrawn, vacated, or reversed at any
time, except as provided in Fed. R. Crim. P. 11(c)(1)(O), or, if the district court
rejects this plea agreement or fails to impose the sentence agreed upon by the parties
under Fed. R. Crim. P. 11(c)(1)(©), any charges that were to be dismissed or have
been dismissed pursuant to this plea agreement may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any

objections, motions, or defenses based upon the applicable statute of limitatiof\s, the

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Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

12. Acceptance of Responsibility

Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for
timely acceptance of responsibility.

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crime to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)

advances false or frivolous issues in mitigation, the government expressly reserves

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the right to withdraw any recommendation regarding acceptance of responsibility
without breaching the agreement.
13. Sentence
a. Imprisonment
The defendant acknowledges that under 18 U.S.C. §§ 1151, 1152, and 1111, the
maximum statutory sentence is LIFE imprisonment, and a fine of not more than
$250,000.
b. Supervised Release
Additionally, the defendant is aware, if imprisonment is imposed, that the Court
may include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of not more than 5 years.
Violation of any condition of supervised release may result in revocation, or
modification of the conditions, of supervised release, which may in turn result in
additional incarceration consistent with 18 U.S.C. § 3583(e).
c. Guidelines
The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.

14. Stipulations

The defendant and the United States agree and stipulate to the following facts:

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a. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the appropriate disposition in this
case is a sentence of at least 300 months (25 years) of imprisonment up to, and
including, 600 months (50 years) of imprisonment. This stipulated sentence is within
the anticipated guideline calculation for the violation to which the defendant is
pleading guilty. The parties have considered various factors in fashioning this
sentence, including: the defendant’s acceptance of responsibility, the strength of the
evidence, judicial economy, the interests of justice, the emotional toll a trial may
have on the victim’s family, and the certainty of conviction. The parties have also
considered possible aggravating and mitigating factors in this case, including the
violent nature of the attack on, and the injuries to, the victim; the defendant’s current
age of 27 years; and the defendant’s history of psychological distress and substance
abuse.

The parties have also considered that proceeding to trial in this case presents risk
to both parties. For the defendant, this risk includes that the jury may find him guilty
of first-degree murder and that he will receive a sentence of mandatory life
imprisonment. For the government, this risk includes that the jury may not make the
inferential connections necessary to find that the defendant acted with premeditation
and may find him not guilty of first-degree murder. Resolving the case in the manner
stipulated in this plea agreement obviates the need for trial, relieving the risk on both

parties.

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Additionally, the parties agree and stipulate that the defendant obstructed and
impeded the administration of justice after the kidnapping and murder when he
tampered with and threatened witnesses that may have had information relating to
the kidnapping and murder to prevent witnesses from speaking to law enforcement.
Therefore, the parties stipulate that a two-level enhancement under U.S.S.G. § 3C1.1
applies in this case.

For these reasons, a sentence of at least 300 months (25 years) of imprisonment
up to, and including, 600 months (50 years) of imprisonment meets the sentencing
goals for this type of case and this defendant. The parties agree upon this sentence
regardless of any advisory Sentencing Guidelines calculations.

b. The parties agree that the Court must either accept this plea agreement and
impose the sentence agreed upon in the previous subparagraph or reject this plea
agreement and allow the defendant to withdraw his plea of guilty. If the court
accepts this plea agreement and nonetheless fails to impose the agreed-upon
sentence, this agreement will be void, and either the defendant or the government
may appeal the Rule 11 violation, the sentence imposed, or both. If the court rejects
the plea agreement, but the defendant elects not to withdraw his plea of guilty, this
agreement will be void, and the government may argue for a sentence above the
agreed-upon range, reinstate or re-present to a grand jury any charges that were
dismissed or were to be dismissed pursuant to this agreement, and appeal the
sentence imposed. If the defendant has pleaded guilty to any lesser-included offense,

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the Court’s rejection of this plea agreement or failure to impose the agreed-upon
sentence will result in reinstatement of the greater offense.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES that right, and stipulates
that defendant is not a “prevailing party” in connection with this case.

15. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

16. Breach of Agreement

In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents

provided by either party shall be admissible and at which the complaining party shall

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be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except under circumstances where the Court rejects the plea agreement under
Rule 11(c)(5), except if the Court determines that the government has breached the
plea agreement as set forth above, and except as provided in Fed. R. Crim. P.
11(c)(1)(C).

Except as provided in Fed. R. Crim. P. 11(c)(1)(O), if TRE ROBERT ALLEN
ACKERSON, after entry of a plea of guilty, unsuccessfully attempts to withdraw
that guilty plea, the government may continue to enforce the agreement but will no
longer be bound by any particular provision in this agreement, unless the Court
determines that the government acted in bad faith to bring about the attempted plea

withdrawal.

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17. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
UNITED STATES ATTORNEY

JUSTIN G. BISH Dated *
Assistant United States Attorney

Ke Me 0 7/2/23
JAMES J. MCHUGH Dated /

HUNTER S. LABOVITZ
Attorneys for Defendant

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TRE ROBERT ALLEN ACKERSON Dated
Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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TRE ROBERT ALLEN ACKERSON Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Information. Further, I have

reviewed the provisions of the Sentencing Guidelines and Policy Statements and I

have fully explained to the defendant the provisions of those Guidelines which may
apply in this case. I have carefully reviewed every part of this plea agreement with
the defendant. To my knowledge, the defendant’s decision to enter into this

agreement is an informed and voluntary one.

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JAMES J. MCHUGH Dated :

HUNTER S. LABOVITZ
Counsels for Defendant

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